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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA


    IN RE: AQUEOUS FILM-FORMING FOAMS                            )   Master Docket No.:
    PRODUCTS LIABILITY LITIGATION                                )   2:18-mn-2873-RMG


                                                                 )
    CITY OF CAMDEN, et al.,                                      )   Civil Action No.:
                                                                 )   2:23-cv-03230-RMG
                   Plaintiffs,                                   )
                                                                 )
    -vs-                                                         )
                                                                 )
    E.I. DU PONT DE NEMOURS & COMPANY (n/k/a                     )
    EIDP, INC.), et al.,                                         )
                                                                 )
                   Defendant.                                    )


 MOTION FOR EXTENSION OF TIME FOR THE SOVEREIGNS TO RESPOND TO
CERTAIN PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL OF THE CLASS
ACTION SETTLEMENT BETWEEN PUBLIC WATER SYSTEMS AND THE DUPONT
                           DEFENDANTS

           Pursuant to Local Rules 6.01 and 7.02 and Your Honor’s Special Instructions, the states of

California, Colorado, Hawaii, Maine, Maryland, Massachusetts, Minnesota, New Jersey, New

Mexico, New Hampshire, New York, North Carolina, Oregon, Rhode Island, Tennessee, Texas,

Vermont, and Wisconsin as well as the District of Columbia and Puerto Rico (collectively,

“Sovereigns”)1 2, by and through their undersigned attorneys, hereby move for an Order to enlarge

the deadline to respond to certain Plaintiffs’3 Motion for Preliminary Approval of the Class Action


1
  To avoid unnecessary repetition, Movants incorporate by reference arguments presented in
Motion for Extension of Time for the States to Respond to Certain Plaintiffs’ Motion for
Preliminary Approval of the Class Action Settlement Between Public Water Systems and 3M
Company (ECF No. 3405).
2
  Movants herein also include state and sovereign agencies.
3
  Those Plaintiffs are: City of Camden, City of Brockton, City of Sioux Falls, California Water
Service Company, City of Del Ray Beach, Coraopilis Water & Sewer Authority and Dalton Farms
Water System, City of South Shore, City of Freeport, Martinsburg Municipal Authority, Seaman
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Settlement Agreement Between Public Water Systems and The Chemours Company, The

Chemours Company FC, LLC, DuPont de Nemours, Inc., Corteva, Inc., and E.I. DuPont de

Nemours and Company n/k/a EIDP, Inc. (ECF Nos. 3392, 3393-2) (the “DuPont Settlement” or

the “DuPont Settlement Agreement”) by fourteen (14) days, from Monday July 24, 2023 to

Monday August 7, 2023. This is the Sovereigns’ first request to enlarge the deadline, is consistent

with the relief sought in connection with preliminary approval of the 3M settlement that the Court

recently partially granted (ECF No. 3408), and will not impact any other deadlines before this

Court. The Sovereigns independently and through the Sovereign Committee attempted to confer

with putative Class Counsel, who have not yet been able to take a position on the timing of this

request given ongoing discussions with the DuPont entities as of the time of filing. This request

is for good cause and not for purposes of delay, as explained more fully below.

       The Sovereigns are currently meeting and conferring with putative Class Counsel, 3M, and

the MDL Sovereign Committee to address the concerns outlined in ECF No. 3405 and the related

joinders. While some of the same questions, concerns, and ambiguities are present in the DuPont

Settlement Agreement that Sovereigns are presently addressing in the 3M Settlement Agreement,

additional concerns are present here that require separate discussion, including but not limited to

the request for an injunction imposed on class members and non-class members under the All

Writs Act. In addition, like the 3M Settlement Agreement, the DuPont Settlement relates to

matters of profound importance to the Sovereigns in their roles as trustees of natural resources and

in the exercise of their parens patriae authority to protect public health and the environment.

       A brief pause to allow the Sovereigns to continue discussion with putative Class Counsel

and The Chemours Company, The Chemours Company FC, LLC, DuPont de Nemours, Inc.,



Cottages, Village of Bridgeport, City of Benwood, Niagara County, City of Pineville, and City of
Iuka (hereinafter, the “Settlement Plaintiffs”).

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Corteva, Inc., and E.I. DuPont de Nemours and Company (together, “DuPont”) and adequate time

to complete their review of a highly complex settlement agreement, discuss their concerns with

interim Class Counsel and counsel for DuPont, and provide the Court with a well-considered and

thoughtful response is in the best interests of all concerned parties.

        Given the complexity of the DuPont Settlement, the concurrent conferral related to the 3M

Settlement Agreement, and the voluminous filings with the Court, the Sovereigns request an

additional fourteen (14) days to fully review, evaluate, and consider the DuPont Settlement. This

short delay will not prejudice any parties or undermine the DuPont Settlement. Thus, the States

respectfully request a fourteen (14) day extension of the deadline to respond to the Motion for

Preliminary Approval of the DuPont Settlement from Monday July 24, 2023 to Monday August 7,

2023.



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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 20, 2023, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system and a copy thereof was served via the CM/ECF
system upon all counsel of record.

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